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                                EXHIBIT A
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               IN THE CIRCUIT COURT OF THE ELEVENTH JUDICIAL CIRCUIT
                       IN AND FOR MIAMI-DADE COUNTY, FLORIDA

                                    CASE NO.: ________________

   RADIATION SHIELD TECHNOLOGIES,
   INC.

          Plaintiff,
   v.

   NATS, INC., and SYED RIZWAN
   MASWOOD

         Defendants.
   __________________________________/

                                             COMPLAINT




   therefore alleges as follows:

                             PARTIES, JURISDICTION, AND VENUE

          1.      Plaintiff RST is a corporation organized under the laws of Delaware, with its

   principal place of business located at 2801 SW 3rd Ave, Miami, FL 33129.

          2.      Defendant Maswood is an individual over eighteen (18) years of age residing in the

   State of Connecticut and is otherwise sui juris.

          3.      Defendant NATS is a Connecticut corporation with its principal place of business

   in 515 CenterPoint Dr, 108, Middletown, CT, 06457-7570.

          4.      Defendants are subject to the personal jurisdiction of this Court because they have

                                                                      whether or not the claim arises
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          5.      Defendants engaged in negotiations with RST, a Florida-based company, beginning

   in November 2019. On or about November 27, 2019, NATS contracted with RST. NATS signed

   a purchase order for 1500 hazmat suits valued at around $1,000,000. In December 2019 and

   January 2020 NATS made payments totaling approximately $330,277.50 pursuant to its

   contractual obligations. NATS proceeded to communicate via email with RST throughout 2020.

   On October 21, 2020, after refusing a partial shipment of the hazmat suits, NATS terminated the

   agreement. NATS has engaged in substantial activity within the state of Florida which subjects it

   to the personal jurisdiction of this Court.

          6.      Venue is proper in Miami-Dade County because



                                                        Holton v. Prosperity Bank of St. Augustine, 602

   So. 2d 659, 662 n.2 (Fla. 5th DCA 1992).

          7.      This is an action for damages in excess of Thirty Thousand Dollars ($30,000.00),



          8.      All conditions precedent to the institution and maintenance of this action have been

   performed, excused, waived, or have otherwise occurred.

                                      GENERAL ALLEGATIONS

          9.      RST is the world leader in the research, design, and production of personal

                                                                               technology, Demron ,

   is specifically engineered to combine radiation protection with ease of use to maximize effective

   radiological defense.

          10.

   to create suits that protect its users from harm caused by radiation exposure.



                                                    2
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          11.     Demron is a patented, and ISO-16604 certified nanotechnology that uses molecular

   engineering techniques to provide radiation protection that has only ever been achieved with heavy

   metals such as lead.

          12.     Dr. Ro                                 chief executive officer (CEO) and founder of

   RST. He is also the inventor of the groundbreaking Demron material.

          13.

   for RST.

          14.

   distributor with twenty years of experience working in the Middle East with expertise in suit

   manufacturing.

          15.     On or about April 6, 2021, RST was approached by Abdullah AlSuwayed

                                   Alramly                         Alramly      Alramly, among other

   things, is a distributor of military and medical supplies with direct ties to the Government of Saudi

   Arabia. Alramly presented RST with a tender           a formal offer to bid      for 250 chemical,

   biological, radiological and nuclear suits

   specifications required by Alramly, so they turned down the bid request. However, Mr. Edwards

   proceeded to refer Alramly to Mr. Roumi who had extensive experience procuring hazmat suits in

   the Middle East. This was the genesis of the relationship between RST and Alramly.

          16.     Five months later, on or about September 13, 2021, Mr. Roumi was approached by

   Alramly who had a client       the General Directorate of Saudi Civil Defense                    ivil

   Defense      that was interested in purchasing 500 suits from RST. The 500 suits were meant to

   kick off a direct relationship with the Saudi Civil Defense with promises of future orders to follow.




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   1
       Part of this process to secure tender for the suits required RST to exhibit the suits to the end

   buyers.

             17.    Alramly                                                                              -9,



   General Authority for Military Industries, where vendors can place their products in front of

   decision-makers with immense buying power.

             18.    On March 15, 2022, RST and Alramly executed a Commercial Agency Agreement

                          . See Exhibit A. The Agreement had an initial term of two years        2022-2024.

   Alramly                                             ] the products and find[] suitable storage, and after

                    Id.

             19.    During this show, the Ministry of Interior, Directorate of Saudi Civil Defense

   expressed an interest in purchasing 500 CBRN Suits from RST.

   Saudi Civil                                                 Each suit would have produced a net profit of

   $750.00      a total of $375,000 for the first order.

             20.    RST had the suits immediately available and ready for shipment.




   1
       It is important to note that NATS is intimately familiar with the Saudi Civil Defense. Saudi Civil

   Defense is the end client at the center of the ongoing litigation between NATS and RST in the

   District Court of Connecticut. See NATS, INC., v. Radiation Shield Technologies, Inc., Case No.

   3:21-CV-00430-AWT. RST communicated with NATS before pursuing a business relationship

   with Saudi Civil Defense. NATS acknowledged and allowed RST to pursue this relationship to

   sell the 1500 suits at the heart of the litigation in the NATS case. Id.



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             21.   In March, RST had a contract with Alramly for marketing and distribution of its

   products in the Kingdom of Saudi Arabia and the beginning of an agreement with Saudi Civil

   Defense to tender 500 suits valued at $375,000 with the promise of future orders to come.

             22.   Had Defendants not tortiously interfered, RST would have effectuated a purchase

   contract for readily available goods, netting it $375,000. RST would have also continued its

   business relationship with the Saudi Civil Defense who had expressed an interest in ordering a

   total of 5000 suits $3,750,000.

             23.   On March 28, 2022, less than twenty days after the World Defense Show, Mr.

   Maswood sent Alramly an email. See Exhibit B.

             24.   The email is titl

   about RST-Florida-                  Id.

             25.   In it, Defendants make numerous baseless accusations that question the integrity of

   RST and Mr. DeMeo.

             26.   Most concerning is Defendants indication that the Plaintiff is under investigation

                              Id. This claim is patently false. There has not been nor is there currently

   a criminal investigation into RST. Claims by the Defendant suggesting otherwise are thus

   malicious in nature and untrue.

             27.

                                             -        Id. They claim, without any foundation, that the

                                                  making several false statements          Id. (emphasis

   added).                                                                               dismissed with

   prejudice by the plaintiff, Riguang Equipment, LLC. See Voluntary Dismissal, Riguang

   Equipment, LLC, v. Radiation Shield Technologies, Inc., No. 2019-023487-CA-01 (Fla. 11th Cir.



                                                     5
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   Ct. Aug. 8, 2021). Plaintiffs have premised their slanderous statements upon a case that was

   dismissed with prejudice with                                                                    at

   best that Defendants have accused RST of making false statements by relying on a Dismissed Case

   to make baseless and false representations. These false statements have led to the interruption of

          business contract with Alramly. By extension, the 500-suit order with the Saudi Civil

   Defense has also been interrupted along with the possibility of the 4500 suits to follow.

           28.                  email claims                                   as its address which is

                                                               See Exhibit B. The Defendants use this

   statement                                            However, the Defendants are in no position to

   make claims as to what is normal or abnormal for a suit manufacturer. Furthermore, it was

   explained in several communications to Defendants that there was a time when RST had to move

   its manufacturing location to a different facility. Thus, RST used a PO Box to ensure that mail

   from its customers would never be lost. Defendants were aware of this information, yet they

   ignored it and attempted to contort an innocuous fact into a showing of fraud and bad faith leading

   to millions in dollars of lost business.

           29.     Defendants also claim that RST promised goods to them that were never delivered.

   Id. Defendants fail to mention that RST made a partial delivery to NATS that was rejected.

   Accordingly, not only was this statement malicious, but also false.

           30.     Finally, the Defendants

                      Id. They go on to inform Alramly that Mr. Edwards filed papers with the court

   informing it that he no longer was with RST. Defendants received this court filing given that they



                                                                  still went forward and maliciously



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                                                                       Id. Defendants condemned RST

   for the actions of an employee that no longer worked there.

             31.                                                          Alramly ceased its business

   relationship with RST

   marketing and distribution efforts from one of the largest distributors of medical and military

   supplies with direct ties to the Kingdom of Saudi Arabia. The tortious interference also cost RST

   its business relationship with the Saudi Civil Defense. The 500-suit order was never consummated

   costing RST $375,000. The promise of a future order for 4500-suits also never occurred costing

   RST an additional $3,375,000.

             32.    As it stands, RST has not only suffered actual and expected damages, but also

   reputational damages. RST has lost out on a direct connection to one of the largest purchasers of

   radiation protection suits the Kingdom of Saudi Arabia.



                                COUNT I
         TORTIOUS INTERFERENCE WITH A CONTRACT                           MASWOOD & NATS

             RST re-alleges and incorporates paragraphs 1-31 of this Complaint as though fully set forth

   herein.

             33.    On or about April 6, 2021, RST and Alramly commenced a business relationship

   whereby Alramly

   Arabia.

             34.    On March 6-9, Alramly attended the World Defense Show in Riyadh, Saudi Arabia.



             35.    On March 15, 2022, RST and Alramly entered into an exclusive distribution

   agreement for the Kingdom of Saudi Arabia.


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             36.    Alramly was pursuing a contract with the Saudi Civil Defense to purchase the suits

   that NATS had refused to receive.

             37.    Defendants were aware of this relationship. DeMeo had previously reached out to

   Defendants to ask permission to market the suits they had refused to accept.

             38.    Defendants intentionally and without justification emailed Alramly with the sole

                                                          Alramly terminated its contract with RST.

             39.    This termination cost RST approximately $3,500,000 in current and future orders.

   It also cost RST two years of marketing and distribution efforts from one of the largest

   distributors    Alramly with direct ties to the Government of Saudi Arabia.

             WHEREFORE, RST respectfully requests that the Court enter judgment in its favor and

   against Defendants, (i) awarding RST compensatory damages; (ii) awarding RST the costs of this

   action; and (iii) granting such other and further relief the Court deems just and proper.

                                    COUNT II
               TORTIOUS INTERFERENCE WITH AN ADVANTEGOUS BUSINESS
                          RELATIONSHIP MASWOOD & NATS

             RST re-alleges and incorporates paragraphs 1-31 of this Complaint as though fully set forth

   herein.

             40.    On or about September 13, 2021, the Saudi Civil Defense expressed an interest in

   purchasing 500 suits from RST. The Kingdom of Saudi Arabia is one of the largest purchasers of

   radiation protection suits in the world.

             41.    Due to their interest, on March 6-9, Alramly



   intensified and they agree to continue negotiations with the possibility of purchasing a total of

   5000 suits.



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             42.    Defendants intentionally and without justification emailed Alramly with the sole

                                                          Alramly terminated its business relationship

   with RST. By extension, the contract negotiations with the Saudi Civil Defense fell apart.

             43.    This termination cost RST approximately $3,500,000 in current and future orders.

   In addition, RST suffered reputational damages. RST has been unsuccessful in selling its hazmat

   sui

             WHEREFORE, RST respectfully requests that the Court enter judgment in its favor and

   against Defendants, (i) awarding RST compensatory damages; (ii) awarding RST the costs of this

   action; and (iii) granting such other and further relief the Court deems just and proper.



                                         COUNT III
                                DEFAMATION MASWOOD & NATS

             RST re-alleges and incorporates paragraphs 1-30 of this Complaint as though fully set forth

   herein.

             44.    On March 28, 2022, Defendants sent an email to Alramly disparaging RST. See

   Exhibit B.

             45.    The email made several unsubstantiated claims regarding two lawsuits. One filed

   by Defendants and another lawsuit in which Defendants are not involved. The claims made in the

   email are baseless and malicious in nature.

             46.    For example, Defendants                                                       orted



   is a lawsuit filed by an unrelated third party. First, the Defendants have no personal knowledge of

   the facts of that lawsuit. Second, and more importantly, the ultimate issue of whether false

   statements were made was never decided the case with voluntarily dismissed with prejudice.


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          47.     In another example, they claim that RST took an advance of $335,000 from NATS

                                         See id. Again, this is demonstrably false. RST made a partial

   delivery that was rejected by NATS.

          48.     Defendants acted with the knowledge that their actions would cause RST to lose

   Alramly distribution agreement and its relationship with the Saudi Civil Defense.

          49.     Defendants also knew that making defamatory statements against RST would

   irreparably harm its reputation in the region.

          WHEREFORE, RST respectfully requests that the Court enter judgment in its favor and

   against Defendants, (i) awarding RST compensatory damages; (ii) awarding RST the costs of this

   action; and (iii) granting such other and further relief the Court deems just and proper.

           Dated: October 10, 2022

                                                    Respectfully submitted,

                                                    KOZYAK TROPIN & THROCKMORTON, LLP
                                                    Counsel for Plaintiff
                                                    2525 Ponce de Leon Blvd., 9th Floor
                                                    Miami, Florida 33134
                                                    Tel: (305) 372-1800
                                                    Fax: (305) 372-3508



                                                    By: ___Javier A. Lopez, Esq.__________________
                                                           Javier A. Lopez, Esq.
                                                           Florida Bar No.
                                                           jal@kttlaw.com
                                                           Facundo M. Scialpi, Esq.
                                                           Florida Bar. No. 1030791
                                                           fscialpi@kttlaw.com




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                EXHIBIT
                   B
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        FORM 1.997.        CIVIL COVER SHEET

        The civil cover sheet and the information contained in it neither replace nor supplement the filing
        and service of pleadings or other documents as required by law. This form must be filed by the
        plaintiff or petitioner with the Clerk of Court for the purpose of reporting uniform data pursuant
        to section 25.075, Florida Statutes. (See instructions for completion.)


                I.      CASE STYLE

                     IN THE CIRCUIT/COUNTY COURT OF THE ELEVENTH JUDICIAL CIRCUIT,
                              IN AND FOR MIAMI-DADE COUNTY, FLORIDA

        RADIATION SHIELD TECHNOLOGIES, INC.
        Plaintiff                                                                Case #
                                                                                 Judge
        vs.
       NATS, INC., Syed R. Maswood
        Defendant



                II.     AMOUNT OF CLAIM
       Please indicate the estimated amount of the claim, rounded to the nearest dollar. The estimated amount of
       the claim is requested for data collection and clerical processing purposes only. The amount of the claim
       shall not be used for any other purpose.

        ☐ $8,000 or less
        ☐ $8,001 - $30,000
        ☒ $30,001- $50,000
        ☐ $50,001- $75,000
        ☐ $75,001 - $100,000
        ☐ over $100,000.00

                III.    TYPE OF CASE           (If the case fits more than one type of case, select the most
        definitive category.) If the most descriptive label is a subcategory (is indented under a broader
        category), place an x on both the main category and subcategory lines.




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   CIRCUIT CIVIL

   ☐ Condominium
   ☒ Contracts and indebtedness
   ☐ Eminent domain
   ☐ Auto negligence
   ☐ Negligence—other
         ☐ Business governance
         ☐ Business torts
         ☐ Environmental/Toxic tort
         ☐ Third party indemnification
         ☐ Construction defect
         ☐ Mass tort
         ☐ Negligent security
         ☐ Nursing home negligence
         ☐ Premises liability—commercial
         ☐ Premises liability—residential
   ☐ Products liability
   ☐   Real Property/Mortgage foreclosure
           ☐ Commercial foreclosure
           ☐ Homestead residential foreclosure
           ☐ Non-homestead residential foreclosure
           ☐ Other real property actions

   ☐Professional malpractice
         ☐ Malpractice—business
         ☐ Malpractice—medical
         ☐ Malpractice—other professional
   ☐ Other
         ☐ Antitrust/Trade regulation
         ☐ Business transactions
         ☐ Constitutional challenge—statute or ordinance
         ☐ Constitutional challenge—proposed amendment
         ☐ Corporate trusts
         ☐ Discrimination—employment or other
         ☐ Insurance claims
         ☐ Intellectual property
         ☐ Libel/Slander
         ☐ Shareholder derivative action
         ☐ Securities litigation
         ☐ Trade secrets
         ☐ Trust litigation


   COUNTY CIVIL

   ☐ Small Claims up to $8,000
   ☐ Civil
   ☐ Real property/Mortgage foreclosure
                                                     -2-
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   ☐ Replevins
   ☐ Evictions
         ☐ Residential Evictions
         ☐ Non-residential Evictions
   ☐ Other civil (non-monetary)

                                        COMPLEX BUSINESS COURT

  This action is appropriate for assignment to Complex Business Court as delineated and mandated by the
  Administrative Order. Yes ☐ No ☒

           IV.   REMEDIES SOUGHT (check all that apply):
           ☒ Monetary;
           ☐ Nonmonetary declaratory or injunctive relief;
           ☐ Punitive

           V.     NUMBER OF CAUSES OF ACTION: [ ]
           (Specify)

             3

           VI.     IS THIS CASE A CLASS ACTION LAWSUIT?
                   ☐ yes
                   ☒ no

           VII.    HAS NOTICE OF ANY KNOWN RELATED CASE BEEN FILED?
                   ☒ no
                   ☐ yes If “yes,” list all related cases by name, case number, and court.


           VIII. IS JURY TRIAL DEMANDED IN COMPLAINT?
                 ☐ yes
                 ☒ no


           IX.     DOES THIS CASE INVOLVE ALLEGATIONS OF SEXUAL ABUSE?
                   ☐ yes
                   ☒ no


   I CERTIFY that the information I have provided in this cover sheet is accurate to the best of
   my knowledge and belief, and that I have read and will comply with the requirements of
   Florida Rule of Judicial Administration 2.425.

   Signature: s/ Javier A. Lopez Esq.                     Fla. Bar # 16727
                   Attorney or party                                     (Bar # if attorney)

  Javier A. Lopez Esq.                             10/10/2022
   (type or print name)                            Date

                                                   -3-
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                                                               IN THE CIRCUIT COURT OF THE
                                                               11th JUDICIAL CIRCUIT IN AND FOR
                                                               MIAMI-DADE COUNTY, FLORIDA

                                                               CASE NO: 2022-019442-CA-01

           RADIATION SHIELD TECHNOLOGIES,
           INC.

                  Plaintiff,
           v.

           NATS, INC., and SYED RIZWAN
           MASWOOD

                 Defendants.
           __________________________________/

           TO:    Syed Rizwan Maswood
                  116 OConnell Dr
                  Berlin, CT 06037

                          YOU ARE HEREBY SUMMONED and required to serve upon PLAINTIFF’S

           ATTORNEY:

                                        Javier A. Lopez, Esq.
                                        E-mail: jal@kttlaw.com
                                        KOZYAK TROPIN & THROCKMORTON LLP
                                        2525 Ponce de Leon Blvd., 9th Floor
                                        Coral Gables, Florida 33134
                                        Tel: (305) 372-1800

           an answer or other response to the Complaint, which is served upon you, within 20 days after
           service of this Summons upon you, exclusive of the day of service. If you fail to do so, judgment
           by default will be taken against you for the relief demanded in the Complaint.

           __________________________________                  ____________________________
           CLERK OF COURT                                      DATE




                                              RETURN OF SERVICE


           Service of the Summons and Complaint was made by me

           Summons                                                            Page 1
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      __________________________________                _______________________________
      PRINT NAME & TITLE OF SERVER                                    DATE

      Check one box below to indicate appropriate method of service:

      Served personally upon the defendant. Place where served:
      ______________________________________________________________________________
      __________________________________________________________________

              Left copies thereof at the defendant's dwelling house or usual place of abode with a
      person of suitable age and discretion then residing therein. Name and physical description of
      person:

      ______________________________________________________________________________
      _________________________________________________________________

      Returned unexecuted:
      ______________________________________________________________________________
      __________________________________________________________________

      Other (specify):
      ______________________________________________________________________________
      ________________________________________________________________________



      DECLARATION OF SERVER


      I declare under penalty of perjury under the laws of the United States of America that the
      foregoing information contained in the Return of Service and Statement of Service Fees is true
      and correct.


      Executed on ____________________, 2022               _____________________________
                    Date                                     Signature of Server

                                                           _____________________________
                                                              Address of Server




      Summons                                                             Page 2
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                                                IMPORTANT

              A lawsuit has been filed against you. You have twenty (20) calendar days after this
      summons is served upon you to file a written response to the attached Complaint in this Court.
      A phone call will not protect you. Your written response, including the above case number and
      named parties, must be filed if you want the Court to hear your case. If you do not file your
      response on time, you may lose the case, and you wages, money and property may thereafter be
      taken without further warning from the Court. There are other legal requirements. You may
      want to call an attorney right away. If you do not know an attorney, you may call an attorney
      referral service or a legal aid office (listed in the phone book).

              If you are a person with a disability who needs any accommodation in order to participate
      in this proceeding, you are entitled, at no cost to you, to the provision of certain assistance.
      Please contact the ADA Coordinator, Diana Sobel, Room 20140, 201 S.E. Sixth Street, Fort
      Lauderdale, Florida 33301, 954-831-7721 at least 7 days before your scheduled court
      appearance, or immediately upon receiving this notification if the time before the scheduled
      appearance is less than 7 days; if you are hearing or voice impaired, call 711.

                                               IMPORTANTE

              Usted ha sido demandado legalmente. Tiene viente (20) dias, contados a partir del recibo
      de esta notificacion, para contestar la demanda adjunta, por escrito, y presentarla ante este
      tribunal. Una llamada telefonica no lo protegera; si usted desea que el escrito, incluyendo el
      numero del caso y los nombres de las partes interesadas en dicho caso. Si usted no contesta la
      demanda a tiempo, pudeise perder el caso y podria ser despojado de sus ingresos y propiedades,
      o privade de sus dereschos, sin previo aviso del tribunal. Existen otros requisitos legales. Si lo
      desea puede usted consultar a un abogado imediatamente. Si no conoce a un abogado, puede
      llamar a una de las officinas de asistencia legal que aparecen en la guia telefoncia.

             Si desea responder a la demanda por su cuenta, al mismo tiempo en que presenta su
      respuesta ante el tribunal, debera usted enviar por correo o entregar una copia de su respuesta a la
      persona denominada abajo como "Plaintiff/Plaintiff's Attorney." (Demandante o Abogado de
      Demandante).

             Si usted es una persona con discapacidad que necesita algún tipo de adaptación para
      participar en este procedimiento, tiene derecho, sin costo alguno, a la prestación de cierta
      asistencia. Comuníquese con la Coordinadora de ADA, Diana Sobel, Salón 20140, 201 S.E.
      Sixth Street, Fort Lauderdale, Florida 33301, 954-831-7721 al menos 7 días antes de su
      comparecencia programada ante el tribunal, o inmediatamente después de recibir esta
      notificación si el tiempo antes de la comparecencia programada es inferior a 7 días; Si tiene
      problemas de audición o de voz, llame al 711.




      Summons                                                              Page 3
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                                                IMPORTANT

              Des poursuites judiciaries ont ele entreprises contre vous. Vous avez 20 jours consecutifs
      a partir de la date de l'assignation de cet'te citation pour deposser une response ecite a la plainte
      cijointe aupres de ce Tribunal. Un simple coup de telephone est insuffisant pour vous proteger;
      vous etes oblige de deposer votre reponse ecrite, ave mention du numero de dossier ci-dessus et
      du nom des parties nommees ici, si vous souhaitez que le Tribunal entende votre cause. Si cous
      ne deposez pas votre reponse ecrite dans le relai requis, vous resiquez de perdre la cause ainsi
      que votre salaire, votre argent, et vos biens peuvent tere saisis par la suite, sans aucun preavis
      ulterieur du Tribunal. Il a d' autres obligations juridiques et vous pouvez requerir les services
      immediates d'un avocat. Si vous ne connaissez pas d'avocats, vou pourriez telephoner a un
      service de reference d'avocats ou a un brueau d'assistance juridique (figurant a l'annuaire de
      telephones).

             Si vous choisissez de deposer vous-meme une reponse ecrite, il vous faudra egalement,
      en meme tempos que cette formalite, faire parvenir ou expedier une copie au carbone ou une
      photocopie de votre reponse ecrite au "Plaintiff/Plaintiff's Attorney" (Plaignant ou a son avocate)
      nomme ci-dessous.

                Si vous êtes une personne handicapée qui a besoin de mesures d'adaptation pour
      participer à cette procédure, vous avez droit, sans frais pour vous, à une certaine assistance.
      Veuillez contacter la coordinatrice ADA, Diana Sobel, bureau 20140, 201 S.E. Sixth Street, Fort
      Lauderdale, Floride 33301, 954-831-7721 au moins 7 jours avant votre comparution prévue au
      tribunal, ou immédiatement après avoir reçu cette notification si le délai avant la comparution
      prévue est inférieur à 7 jours; si vous êtes malentendant ou malentendant, appelez le 711.




      Summons                                                               Page 4
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       # 159207076  E-Filed 10/13/2022 04:47:05 PM


                                                               IN THE CIRCUIT COURT OF THE
                                                               11th JUDICIAL CIRCUIT IN AND FOR
                                                               MIAMI-DADE COUNTY, FLORIDA

                                                               CASE NO: 2022-019442-CA-01

           RADIATION SHIELD TECHNOLOGIES,
           INC.

                  Plaintiff,
           v.

           NATS, INC., and SYED RIZWAN
           MASWOOD

                 Defendants.
           __________________________________/

           TO:    Syed Rizwan Maswood
                  116 OConnell Dr
                  Berlin, CT 06037

                          YOU ARE HEREBY SUMMONED and required to serve upon PLAINTIFF’S

           ATTORNEY:

                                        Javier A. Lopez, Esq.
                                        E-mail: jal@kttlaw.com
                                        KOZYAK TROPIN & THROCKMORTON LLP
                                        2525 Ponce de Leon Blvd., 9th Floor
                                        Coral Gables, Florida 33134
                                        Tel: (305) 372-1800

           an answer or other response to the Complaint, which is served upon you, within 20 days after
           service of this Summons upon you, exclusive of the day of service. If you fail to do so, judgment
           by default will be taken against you for the relief demanded in the Complaint.

           __________________________________                  ____________________________
                                                                        10/18/2022
           CLERK OF COURT                                      DATE




                                              RETURN OF SERVICE


           Service of the Summons and Complaint was made by me

           Summons                                                            Page 1
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      __________________________________                _______________________________
      PRINT NAME & TITLE OF SERVER                                    DATE

      Check one box below to indicate appropriate method of service:

      Served personally upon the defendant. Place where served:
      ______________________________________________________________________________
      __________________________________________________________________

              Left copies thereof at the defendant's dwelling house or usual place of abode with a
      person of suitable age and discretion then residing therein. Name and physical description of
      person:

      ______________________________________________________________________________
      _________________________________________________________________

      Returned unexecuted:
      ______________________________________________________________________________
      __________________________________________________________________

      Other (specify):
      ______________________________________________________________________________
      ________________________________________________________________________



      DECLARATION OF SERVER


      I declare under penalty of perjury under the laws of the United States of America that the
      foregoing information contained in the Return of Service and Statement of Service Fees is true
      and correct.


      Executed on ____________________, 2022               _____________________________
                    Date                                     Signature of Server

                                                           _____________________________
                                                              Address of Server




      Summons                                                             Page 2
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                                                IMPORTANT

              A lawsuit has been filed against you. You have twenty (20) calendar days after this
      summons is served upon you to file a written response to the attached Complaint in this Court.
      A phone call will not protect you. Your written response, including the above case number and
      named parties, must be filed if you want the Court to hear your case. If you do not file your
      response on time, you may lose the case, and you wages, money and property may thereafter be
      taken without further warning from the Court. There are other legal requirements. You may
      want to call an attorney right away. If you do not know an attorney, you may call an attorney
      referral service or a legal aid office (listed in the phone book).

              If you are a person with a disability who needs any accommodation in order to participate
      in this proceeding, you are entitled, at no cost to you, to the provision of certain assistance.
      Please contact the ADA Coordinator, Diana Sobel, Room 20140, 201 S.E. Sixth Street, Fort
      Lauderdale, Florida 33301, 954-831-7721 at least 7 days before your scheduled court
      appearance, or immediately upon receiving this notification if the time before the scheduled
      appearance is less than 7 days; if you are hearing or voice impaired, call 711.

                                               IMPORTANTE

              Usted ha sido demandado legalmente. Tiene viente (20) dias, contados a partir del recibo
      de esta notificacion, para contestar la demanda adjunta, por escrito, y presentarla ante este
      tribunal. Una llamada telefonica no lo protegera; si usted desea que el escrito, incluyendo el
      numero del caso y los nombres de las partes interesadas en dicho caso. Si usted no contesta la
      demanda a tiempo, pudeise perder el caso y podria ser despojado de sus ingresos y propiedades,
      o privade de sus dereschos, sin previo aviso del tribunal. Existen otros requisitos legales. Si lo
      desea puede usted consultar a un abogado imediatamente. Si no conoce a un abogado, puede
      llamar a una de las officinas de asistencia legal que aparecen en la guia telefoncia.

             Si desea responder a la demanda por su cuenta, al mismo tiempo en que presenta su
      respuesta ante el tribunal, debera usted enviar por correo o entregar una copia de su respuesta a la
      persona denominada abajo como "Plaintiff/Plaintiff's Attorney." (Demandante o Abogado de
      Demandante).

             Si usted es una persona con discapacidad que necesita algún tipo de adaptación para
      participar en este procedimiento, tiene derecho, sin costo alguno, a la prestación de cierta
      asistencia. Comuníquese con la Coordinadora de ADA, Diana Sobel, Salón 20140, 201 S.E.
      Sixth Street, Fort Lauderdale, Florida 33301, 954-831-7721 al menos 7 días antes de su
      comparecencia programada ante el tribunal, o inmediatamente después de recibir esta
      notificación si el tiempo antes de la comparecencia programada es inferior a 7 días; Si tiene
      problemas de audición o de voz, llame al 711.




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                                                IMPORTANT

              Des poursuites judiciaries ont ele entreprises contre vous. Vous avez 20 jours consecutifs
      a partir de la date de l'assignation de cet'te citation pour deposser une response ecite a la plainte
      cijointe aupres de ce Tribunal. Un simple coup de telephone est insuffisant pour vous proteger;
      vous etes oblige de deposer votre reponse ecrite, ave mention du numero de dossier ci-dessus et
      du nom des parties nommees ici, si vous souhaitez que le Tribunal entende votre cause. Si cous
      ne deposez pas votre reponse ecrite dans le relai requis, vous resiquez de perdre la cause ainsi
      que votre salaire, votre argent, et vos biens peuvent tere saisis par la suite, sans aucun preavis
      ulterieur du Tribunal. Il a d' autres obligations juridiques et vous pouvez requerir les services
      immediates d'un avocat. Si vous ne connaissez pas d'avocats, vou pourriez telephoner a un
      service de reference d'avocats ou a un brueau d'assistance juridique (figurant a l'annuaire de
      telephones).

             Si vous choisissez de deposer vous-meme une reponse ecrite, il vous faudra egalement,
      en meme tempos que cette formalite, faire parvenir ou expedier une copie au carbone ou une
      photocopie de votre reponse ecrite au "Plaintiff/Plaintiff's Attorney" (Plaignant ou a son avocate)
      nomme ci-dessous.

                Si vous êtes une personne handicapée qui a besoin de mesures d'adaptation pour
      participer à cette procédure, vous avez droit, sans frais pour vous, à une certaine assistance.
      Veuillez contacter la coordinatrice ADA, Diana Sobel, bureau 20140, 201 S.E. Sixth Street, Fort
      Lauderdale, Floride 33301, 954-831-7721 au moins 7 jours avant votre comparution prévue au
      tribunal, ou immédiatement après avoir reçu cette notification si le délai avant la comparution
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